Case 5:19-cv-00486-SMH-MLH Document 2 Filed 04/16/19 Page 1 of 18 PageID #: 846



                      IN THE UNITED STATES DISTRICT COURT FOR
                         THE WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION

 405 ARAPAHOE, LLC                                 §       CIVIL ACTION NO.5:19-cv-486
       Plaintiff,                                  §
                                                   §
 vs.                                               §
                                                   §
 MONTEREY RESOURCES, LLC ET AL.                    §
     Defendants.                                   §
                                                   §

         DEFENDANTS’ ANSWER, COUNTERCLAIM FOR INJUNCTIVE RELIEF,
                  AND §9:5135 REQUEST FOR INSTRUCTIONS

                                             ANSWER

          NOW INTO COURT, THROUGH UNDERSIGNED COUNSEL, come Defendants

 Monterey Resources, LLC and Green Wheel, LLC (collectively “Defendants”) who in response

 to the Petition for Executory Process and for Ex Parte Appointment of Keeper filed by Plaintiff

 405 Arapahoe, LLC, state as follows:

          Defendants deny each and every allegation of the Petition for Executory Process and for

 Ex Parte Appointment of Keeper and any allegations pled by reference, except as specifically

 admitted below. The paragraph numbers below reference the paragraph number of the Petition

 for Executory Process and for Ex Parte Appointment of Keeper.

           1.    Defendants do not believe a response is required. To the extent a response is

 required, denied.

          2.     Defendants deny the allegations of this paragraph.

         3.      Defendants do not believe a response is required. To the extent a response is

 required, denied.




 {HD102533.1}
Case 5:19-cv-00486-SMH-MLH Document 2 Filed 04/16/19 Page 2 of 18 PageID #: 847



          4.    Defendants do not believe a response is required. To the extent a response is

 required, denied.

          5.    Defendants do not believe a response is required. To the extent a response is

 required, denied.

          6.    Defendants do not believe a response is required. To the extent a response is

 required, denied.

          7.    Defendants do not believe a response is required. To the extent a response is

 required, denied.

          8.    Defendants do not believe a response is required. To the extent a response is

 required, denied.

          9.    Defendants do not believe a response is required. To the extent a response is

 required, denied.

          10.   Defendants do not believe a response is required. To the extent a response is

 required, denied.

          11.   Defendants do not believe a response is required. To the extent a response is

 required, denied.

          12.   Defendants do not believe a response is required. To the extent a response is

 required, denied.

          13.   Defendants do not believe a response is required. To the extent a response is

 required, denied.

          14.   Defendants do not believe a response is required. To the extent a response is

 required, denied.




 {HD102533.1}                                 2
Case 5:19-cv-00486-SMH-MLH Document 2 Filed 04/16/19 Page 3 of 18 PageID #: 848



          15.   Defendants do not believe a response is required. To the extent a response is

 required, denied.

          16.   Defendants do not believe a response is required. To the extent a response is

 required, denied.

          17.   Defendants do not believe a response is required. To the extent a response is

 required, denied.

          18.   Defendants do not believe a response is required. To the extent a response is

 required, denied.

          19.   Defendants do not believe a response is required. To the extent a response is

 required, denied.

          20.   Defendants do not believe a response is required. To the extent a response is

 required, denied.

          21.   Defendants do not believe a response is required. To the extent a response is

 required, denied.

          22.   Defendants do not believe a response is required. To the extent a response is

 required, denied.

          23.   Defendants do not believe a response is required. To the extent a response is

 required, denied.

          24.   Defendants do not believe a response is required. To the extent a response is

 required, denied.

          25.   Defendants do not believe a response is required. To the extent a response is

 required, denied.




 {HD102533.1}                                 3
Case 5:19-cv-00486-SMH-MLH Document 2 Filed 04/16/19 Page 4 of 18 PageID #: 849



          26.   Defendants do not believe a response is required. To the extent a response is

 required, denied.

          27.   Defendants do not believe a response is required. To the extent a response is

 required, denied.

          28.   Defendants do not believe a response is required. To the extent a response is

 required, denied.

          29.   Defendants do not believe a response is required. To the extent a response is

 required, denied.

          30.   Defendants do not believe a response is required. To the extent a response is

 required, denied.

          31.   Defendants do not believe a response is required. To the extent a response is

 required, denied.

          32.   Defendants do not believe a response is required. To the extent a response is

 required, denied.

          33.   Defendants do not believe a response is required. To the extent a response is

 required, denied.

          34.   Defendants do not believe a response is required. To the extent a response is

 required, denied.

          35.   Defendants do not believe a response is required. To the extent a response is

 required, denied.

          36.   Defendants do not believe a response is required. To the extent a response is

 required, denied.




 {HD102533.1}                                 4
Case 5:19-cv-00486-SMH-MLH Document 2 Filed 04/16/19 Page 5 of 18 PageID #: 850



                                              PRAYER

          This Paragraph contains conclusions of law and Plaintiff’s prayer for relief for which no

 response is required. To the extent a response is required, Defendants deny the allegations

 contained in this Paragraph listed I through VIII.

         DEFENDANTS’ COUNTERCLAIM FOR PERMANENT INJUNCTIVE RELIEF

     NOW INTO COURT, THROUGH UNDERSIGNED COUNSEL, come Counter-Plaintiffs

 Monterey Resources, LLC (“Monterey”) and Green Wheel, LLC (“Green Wheel”) (collectively

 “Counter-Plaintiffs”) who hereby file this Counterclaim for Permanent Injunctive Relief against

 Plaintiff and Counter-Defendant 405 Arapahoe, LLC (“Arapahoe”) and would show as follows:

                                                PARTIES

          1.     Monterey is a foreign limited liability company and citizen of Texas with a

 principal place of business in Dallas, Texas. Monterey is registered to do business in Louisiana.

          2.     Green Wheel is a foreign limited liability company and citizen of Texas with a

 principal place of business in Dallas, Texas. Green Wheel is registered to do business in

 Louisiana.

          3.     Arapahoe is a foreign limited liability company and citizen of New York and

 Delaware with a principal place of business in New York. Arapahoe is not registered to do

 business in Louisiana.

                                      JURISDICTION AND VENUE

          4.     This Court has jurisdiction to hear this matter pursuant to 28 U.S.C. § 1332

 because the parties are completely diverse and the amount in controversy exceeds $75,000.

          5.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because a

 substantial part of the events or omissions giving rise to the claim occurred in this district.




 {HD102533.1}                                      5
Case 5:19-cv-00486-SMH-MLH Document 2 Filed 04/16/19 Page 6 of 18 PageID #: 851



                                                 BACKGROUND

          6.        Monterey and Green Wheel own and operate producing and non-producing

 mineral interests, including oil and gas wells, in Louisiana (“Mineral Interests”). On May 15,

 2018, Counter-Plaintiffs (as borrowers) entered into an Amended and Restated Credit Agreement

 (the “Credit Agreement”) with Counter-Defendant (as administrative agent for the lenders),

 under which the lenders agreed to advance a principal amount of $15,000,000.00 to Counter-

 Plaintiffs. The $15,000,000.00 principal loan amount was evidenced by three promissory notes.

          7.        As security under the Credit Agreement, Counter-Plaintiffs executed two

 mortgages (“Mortgages”) in favor of Counter-Defendants covering the Mineral Interests.

 Defendants also granted Plaintiff a security interest in certain movable (personal) property

 (including equipment, machinery, and supplies) related to the mortgaged property.

          8.        Counter-Plaintiffs were obligated under the Credit Agreement to remit all gross

 proceeds from the Mineral Interests’ production, including third-parties’ royalty and working

 interest revenues, to a deposit account controlled by Plaintiff (the “Lockbox Account”) and to

 direct “all account debtors and royalty payors” to remit all payments due to Counter-Plaintiffs to

 the Lockbox Account. The funds in the Lockbox Account were to be used to pay vendors for

 services necessary to Counter-Plaintiffs’ Louisiana operations, as well as royalties to Louisiana

 landowners and maintenance payments to Louisiana lessors.

          9.        The Credit Agreement itself mandated Counter-Plaintiffs to make such payments:

                •   Section 5.05(a): Defendants are required to “operate [the Mineral Interests] . . . in
                    a careful and efficient manner in accordance with the customary practices of the
                    industry and in compliance with all applicable contacts and agreements and in
                    compliance with all applicable Governmental Requirements. . . .”

                •   Section 5.05(c): Defendants are required to “promptly pay and discharge, or use
                    commercially reasonable efforts to cause to be paid and discharged, all material




 {HD102533.1}                                         6
Case 5:19-cv-00486-SMH-MLH Document 2 Filed 04/16/19 Page 7 of 18 PageID #: 852



                    delay rentals, royalties, expenses and indebtedness accruing under the leases or
                    other agreements affecting or pertaining to [the Mineral Interests]. . . .”

                •   Section 5.05(d): Defendants are required to “promptly perform or use
                    commercially reasonable efforts to cause to be performed, in accordance with
                    industry standards, the material obligations required by each and all of the
                    assignments, deeds, leases, sub-leases, contracts and agreements affecting its
                    interests in [the Mineral Interests]. . . .”

          10.       Instead, beginning September 27, 2018, Counter-Defendant took total control of

 all Lockbox Account funds, refused to pay critical vendors for operation of the Mineral Interests,

 refused to pay royalty and working interest owners, and refused to pay lease maintenance

 payments. Essentially, Counter-Defendant took control of Counter-Plaintiffs’ purse strings and

 thereby controlled Counter-Plaintiffs’ operational decision-making.

          11.       Counter-Plaintiffs made repeated requests and took efforts to ensure they would

 be able to continue to meet their Section 5 obligations under the Credit Agreement and their

 obligations as an operator under Louisiana law.

          12.       Despite these efforts, Counter-Defendant interfered with and thwarted Counter-

 Plaintiffs at every turn, effectively destroying any possibility for Counter-Plaintiffs to operate the

 Louisiana Mineral Interests prudently. Such interference occurred not only through the refusal to

 release third-party funds held in the Lockbox Account, specifically royalty and other working

 interest owner funds, but also by Counter-Defendant’s refusal to allow Lockbox Account funds

 to be used to pay operating expenses associated with the Mineral Interests. .

          13.       After bleeding the Lockbox Account for six months, Counter-Defendant filed a

 Petition for Executory Process and for Ex Parte Appointment of Keeper on March 8, 2019 in the

 Second Judicial District Court of Claiborne Parish, Louisiana (“Petition”).




 {HD102533.1}                                       7
Case 5:19-cv-00486-SMH-MLH Document 2 Filed 04/16/19 Page 8 of 18 PageID #: 853



          14.       The Claiborne Parish court issued an Order for writ of seizure and sale (“Writ”)

 the same day. The Order also appoints Plaintiff or its Designee as Keeper. The Sheriff’s sale of

 Defendants’ property was scheduled for July 24, 2019.

          15.       Because Counter-Defendant did not strictly comply with the procedures necessary

 to obtain the Writ, and because Counter-Defendant is preventing the exercise of reasonable care

 in the preservation of the collateral at issue, Counter-Plaintiffs seek a permanent injunction

 enjoining any further seizure, enjoining the scheduled sale, and requiring reasonable care in the

 management and preservation of the collateral.

                         CLAIM FOR PERMANENT INJUNCTIVE RELIEF

          16.       A party seeking a permanent injunction “must show (1) success on the merits; (2)

 the failure to grant the injunction will result in irreparable injury; (3) the injury outweighs any

 damage that the injunction will cause the opposing party; and (4) the injunction will not disserve

 the public interest. Because Counter-Plaintiffs meet all four elements, a permanent injunction

 should issue in this case.

          A.        THE MERITS

          17.       Counter-Defendant failed to follow Louisiana procedure to obtain the Writ;

 therefore Counter-Plaintiffs are entitled to enjoin the Writ as provided by Louisiana law.

                •   First, Arapahoe did not proceed in the proper venue with respect to a substantial

                    portion of the property at issue.

                •   Second, Arapahoe relied on improperly authenticated documents in contravention

                    of a condition on the confession of judgment in the mortgages.




 {HD102533.1}                                           8
Case 5:19-cv-00486-SMH-MLH Document 2 Filed 04/16/19 Page 9 of 18 PageID #: 854



                •   Third, Arapahoe did not have the capacity to sue in Louisiana state court in the

                    first place because it was conducting business in Louisiana but was not registered

                    in the state.

          18.       Moreover, Counter-Defendant is preventing the exercise of reasonable care in the

 management and preservation of the collateral at issue, ensuring the irreparable loss of valuable

 mineral lease interests, and draining Counter-Plaintiffs’ equity interest.

                            a.      Improper Venue

          19.       Louisiana Code of Civil Procedure article 2633 provides that an “executory

 proceeding to enforce a mortgage may be brought either in the parish where the property is

 situated or as provided in the applicable provision of Article 42 only.” La. Code Civ. P. art.

 2633 (emphasis supplied). The applicable provision of Article 42 provides venue is proper

 against a foreign LLC “in the parish where its principal business establishment is located as

 designated in its application to do business in the state.” La. Code Civ. Proc. art. 42(5). For

 Monterey that is East Baton Rouge Parish. For Green Wheel that is Orleans Parish. Therefore,

 venue for an executory proceeding is proper against these Defendants in East Baton Rouge

 Parish and Orleans Parish, respectively. Arapahoe did not file its executory proceeding in either

 parish so Arapahoe was required to file its proceeding in the parish where the property is located.

          20.       Instead, Arapahoe filed its executory proceeding in Claiborne Parish, yet

 proceeded against property located not only in Claiborne Parish but also in Caddo, Webster, and

 Union Parishes.

          21.       The venue provision for an executory process proceeding is “where the property

 is situated.” La. Code Civ. P. art. 2633. That venue provision must be strictly construed. A suit




 {HD102533.1}                                        9
Case 5:19-cv-00486-SMH-MLH Document 2 Filed 04/16/19 Page 10 of 18 PageID #: 855



  to seize property in Caddo, Webster, and Union Parishes must have been brought in those

  parishes.

                        b.      Counter-Defendant Failed to Meet a Condition for the
                                Confession of Judgment

           22.   Louisiana law regarding executory process requires certain authentication

  procedures. However, in this case, the parties’ Mortgages impose additional authentication

  requirements for “Declarations of Fact” that are used to support an executory process action. See

  Ex. E, Mortgages § 7.02(f). Specifically, the Mortgages require that all declarations of fact “by a

  person declaring such facts to lie within his knowledge,” in support of an action for executory

  process shall be authenticated by two witnesses and a notary public.

           23.   Counter-Defendant relied on three “Declarations of Fact” in support of is claim

  for executory process: (a) an Affidavit of Verification and Correctness of Account, (b) a

  Certificate of Authenticity of Promissory Note Dated May 15, 2018 ($2,925,000), and (c) a

  Certificate of Authenticity of Promissory Note Dated May 15, 2018 ($150,000).

           24.   None of these documents was properly authenticated under the terms of the

  Mortgages. The Affidavit of Verification and Correctness of Account included only one witness

  signature and a notary. The Certificates of Authenticity did not include any witnesses and no

  notary. These are all clearly declarations of fact that were required to be properly authenticated

  in accordance with the terms of Mortgage. Indeed, the Affidavit of Verification and Correctness

  of Account even includes a space for a second witness to sign, but that space is blank.

                        c.      Failure to Register to Do Business in the State of Louisiana

           25.   Counter-Defendant is a foreign LLC not registered to do business in the State of

  Louisiana.




  {HD102533.1}                                    10
Case 5:19-cv-00486-SMH-MLH Document 2 Filed 04/16/19 Page 11 of 18 PageID #: 856



           26.   Louisiana Revised Statute § 12:1354 provides that no foreign LLC “transacting

  business in this state shall be permitted to present any judicial demand before any court of this

  state unless it has been authorized to transact such business”—that is, unless it has received a

  certificate of authorization from the Louisiana Secretary of State.

           27.   Because Counter-Defendant violated this prerequisite when it obtained the Writ,

  the Writ was improperly granted, warranting injunctive relief.

           28.   Counter-Defendant conducted business in Louisiana as a result of the Credit

  Agreement.     As described above, through its control of the Lockbox Account, Counter-

  Defendant controlled the purse strings of Counter-Plaintiffs’ oil and gas operations. Thus,

  Counter-Defendant controlled all decisions regarding well maintenance, work-over operations,

  recompletion, sidetracking, lease maintenance, royalty payment, etc. for the Mineral Interests.

  Counter-Defendant essentially took over Counter-Plaintiffs’ operations. This activity goes far

  beyond the typical “[s]ecuring or collecting debts or enforcing any rights in property securing the

  same,” which are specifically identified as acts not considered transacting business in the state.

  See La. R.S. § 12:302(G).

           29.   Moreover, Counter-Defendant was not engaged in interstate commerce.             The

  Mortgages secure Louisiana property. While the Lockbox Account was not located in Louisiana,

  all the funds in the Lockbox Account were derived from Louisiana. The funds were marked to

  pay Louisiana lessors and landowners and Louisiana vendors who provided services related to

  the day-to-day operation of Counter-Plaintiffs’ oil and gas wells located in Louisiana. The

  transactions underlying Counter-Defendant’s original Petition are thus local transactions, not

  interstate commerce.     Counter-Defendant was conducting business in Louisiana and was




  {HD102533.1}                                    11
Case 5:19-cv-00486-SMH-MLH Document 2 Filed 04/16/19 Page 12 of 18 PageID #: 857



  therefore required to register with the Secretary of State before commencing the executory

  process action in a Louisiana state court.

           30.   Counter-Defendant was conducting business in Louisiana, and it improperly

  obtained the Writ because it did not have capacity to sue in Louisiana state court. Thus the Writ

  should be enjoined.

           2.    Duty of Care: Counter-Defendant Has Interfered with the Reasonable
                 Maintenance of the Collateral

           31.   Secured parties who take control of movable property and mortgagees who take

  control of mortgaged property are subject to certain duties of care with respect to the

  maintenance and management of the seized assets. Secured parties must “use reasonable care in

  the custody and preservation of collateral in the secured party’s possession.”

           32.   As to mineral mortgages, Louisiana law specifically provides that the court shall

  direct the appointment of Keeper to administer, operate, and protect the property and the parties’

  interest, including the debtor’s interest. See La. R.S. §§ 9:5133, 9:5135.

           33.   The court did direct the appointment of a Keeper – the “[Counter-Defendant] or

  its designee.” Counter-Defendant, who is an equity lending firm from New York, naturally

  designated a local contractor operator to serve as its designee to fulfill this role. Yet, Counter-

  Defendant continues to prevent the payment of royalties owed to third parties, payments

  necessary to the maintenance of the leases, and payments to vendors necessarily to properly

  maintain and operate the property.

           34.   A Keeper has been appointed, but that that Keeper is merely performing services

  for a fee under a contract with Counter-Defendant, and has not agreed nor undertaken the duties,

  responsibilities, and obligations of the operator of record.




  {HD102533.1}                                     12
Case 5:19-cv-00486-SMH-MLH Document 2 Filed 04/16/19 Page 13 of 18 PageID #: 858



           35.   The duties of the operator set out in the Credit Agreement, leases, unit orders, etc.

  remain unperformed due to the action and/or inaction of Counter-Defendant. Counter-Defendant

  has jeopardized the productivity of the Mineral Interests by preventing the required payments to

  landowners, working interest owners and vendors, and refusing to allow the necessary oversight

  to maintain and preserve the assets related to Counter-Plaintiffs’ operations.

           36.   The potential loss of leases and other detrimental impacts to Counter-Plaintiffs’

  operations as a result of Counter-Defendant’s unreasonable interference with the management of

  the Mineral Interests are irreparable.

           37.   Accordingly, Counter-Defendant should be enjoined from continuing to interfere

  with the Mineral Interests. Further, Arapahoe and/or the Keeper should be ordered or instructed

  to immediately make the outstanding royalty payments, lease maintenance payments, and vendor

  payments.

           B.    COUNTER-PLAINTIFFS FACE A SUBSTANTIAL THREAT THAT
                 THEY WILL SUFFER IRREPARABLE INJURY IF THE INJUNCTION IS
                 NOT GRANTED

           38.   If Counter-Plaintiffs are unable to obtain injunctive relief, they will certainly

  suffer irreparable harm. Counter-Defendant’s actions—i.e., Counter-Defendant’s interference

  with payment of royalties, other working interests, and operating expenses, and interference with

  the responsible operation of the Mineral Interests—have already caused Counter-Plaintiffs’ oil

  and gas interests irreparable loss.

           39.   As leases are lost and the properties not operated in accordance with industry

  standards, the potential for Counter-Plaintiffs to continue operations will be destroyed. Counter-

  Plaintiffs’ more than $1 million in equity will be forever lost and Counter-Plaintiffs will be

  exposed to new financial liabilities for a deficiency of Counter-Defendant’s making. Further, a




  {HD102533.1}                                    13
Case 5:19-cv-00486-SMH-MLH Document 2 Filed 04/16/19 Page 14 of 18 PageID #: 859



  Sheriff’s sale of the mortgaged property would compromise Counter-Plaintiffs’ relationships

  with vendors, landowners, lessors, and working interest owners, and would dramatically and

  irreversibly impede Counter-Plaintiffs’ ability to operate their business.

           C.    COUNTER-PLAINTIFFS’ THREATENED INJURY OUTWEIGHS THE
                 THREATENED HARM TO COUNTER-DEFENDANT

           40.   The harm Counter-Plaintiffs will suffer in the absence of injunctive relief far

  outweighs the harm Counter-Defendant will face if the Court grants an injunction. Indeed, a

  decision by the Court to enjoin the Writ would cause no harm to Counter-Defendant at all.

  Counter-Defendant would simply be required to proceed according the law.

           D.    GRANTING THE INJUNCTION WILL NOT DISSERVE THE PUBLIC
                 INTEREST.

           41.   Granting the requested injunction will not disserve the public interest; on the

  contrary, it will serve the public interest. There can be no doubt that it serves the public interest

  for courts to ensure that the “extraordinary procedure” of executory process is permitted only in

  strict accordance with the law.

           42.   Because executory process is so harsh a remedy, strict procedural compliance is

  necessary lest the procedure give way to “extreme abuse.”            This concern is reflected in

  Louisiana’s statutory standard for obtaining injunctive relief, which requires a defendant to show

  only that “the procedure required by law for an executory proceeding has not been followed.”

  La. Code Civ. Proc. art. 2751. If the defendant makes such a showing, he “may arrest the seizure

  and sale of the property by injunction.” Id. Such is the relief requested here.

           43.   Moreover, the statutory law cited demonstrates it has long been recognized that a

  mortgagee-in-possession should not be permitted to waste the collateral it holds. This is clearly a




  {HD102533.1}                                     14
Case 5:19-cv-00486-SMH-MLH Document 2 Filed 04/16/19 Page 15 of 18 PageID #: 860



  policy that is meant to protect the public interest by ensuring a minimum standard of fairness in

  dealings between the mortgagor and mortgagee.

        COUNTER-PLAINTIFFS’ SECTION 9:5135 REQUEST FOR INSTRUCTIONS

           44.   Counter-Defendant or its Designee has been appointed as Keeper pursuant to

  Louisiana Revised Statutes § 9:5131 et seq.

           45.   A Keeper appointed pursuant to Louisiana Revised Statutes § 9:5131 et seq.,

  Counter-Defendant has a duty to fully administer and operate the mineral rights and wells

  located on the subject property in the ordinary course of business and to produce and dispose of

  minerals accruing to such interests.

           46.   Counter-Defendant is preventing the payment of royalties owed to third parties,

  payments necessary to the maintenance of the leases, and payments to vendors necessarily to

  properly maintain and operate the property.

           47.   A Keeper has been appointed, but that that Keeper is merely performing services

  for a fee under a contract with Counter-Defendant, and has not agreed nor undertaken the duties,

  responsibilities, and obligations of the operator of record. Thus, the duties of the operator set out

  in the Credit Agreement, leases, unit orders, etc. remain unperformed due to the action and/or

  inaction of Counter-Defendant.

           48.   Counter-Defendant has jeopardized the productivity of the Mineral Interests by

  preventing the required payments to landowners, working interest owners and vendors, and

  refusing to allow the necessary oversight to maintain and preserve the assets related to Counter-

  Plaintiffs’ operations.

           49.   When a Keeper is appointed, the Court may issue orders or instructions to protect

  the property and the parties’ interest, including the debtor’s interest, on application by a party.




  {HD102533.1}                                     15
Case 5:19-cv-00486-SMH-MLH Document 2 Filed 04/16/19 Page 16 of 18 PageID #: 861



  See La. R.S. §§ 9:5133, 9:5135 (“court may issue orders or instructions deemed necessary or

  appropriate for the protection of the property and the interest of the parties therein”).

           50.   Counter-Plaintiffs request that the Court order or instruct Counter-Defendant

  and/or the Keeper to immediately make the outstanding royalty payments, lease maintenance

  payments, and vendor payments.

           51.   Counter-Plaintiffs request that the Court order or instruct Counter-Defendant

  and/or the Keeper to henceforth make proper and timely payments to royalty interest holders,

  payments necessary for lease maintenance, and payments to vendors for reasonable and

  necessary operational expenses.

           WHEREFORE Monterey Resources, LLC and Green Wheel, LLC pray that the Court

  grant this motion for permanent injunction and enter an Order permanently enjoining any further

  seizure under the Writ, enjoining the scheduled sale, and requiring Plaintiff to refrain from

  interfering with the exercise of reasonable care in the management and preservation of the

  collateral and for such other relief deemed appropriate under the circumstances.




  {HD102533.1}                                      16
Case 5:19-cv-00486-SMH-MLH Document 2 Filed 04/16/19 Page 17 of 18 PageID #: 862



           Respectfully submitted,

                                     JONES WALKER LLP


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  {HD102533.1}                         17
Case 5:19-cv-00486-SMH-MLH Document 2 Filed 04/16/19 Page 18 of 18 PageID #: 863



                                   CERTIFICATE OF SERVICE


           I hereby certify that on the 16th day of April 2019, I electronically filed the foregoing

  with the Clerk of Court using the CM/ECF system, which will then send a notification of such

  filing (NEF) to all counsel of record who have registered to receive electronic service, and that

  all other counsel of record have been served by e-mail, by facsimile, or by depositing same in the

  United States Mail.

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                                                       /s/Michael B. Donald
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  {HD102533.1}                                    18
